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 6
     Attorney for Defendant,
 7   SALVADOR RAYMOND DELEON RODRIGUEZ
 8

 9                   IN THE UNITED STATES DISTRICT COURT
10                 FOR THE EASTERN DISTRICT OF CALIFORNIA
11   UNITED STATES OF AMERICA,          ) Case No.: 1:13-CR-00085-LJO
                                        )
12             Plaintiff,               )
                                        )
13       vs.                            ) DEFENDANT’S NOTICE OF WAIVER
                                        ) OF PERSONAL APPEARANCE
14   SALVADOR RAYMOND DELEON            )
     RODRIGUEZ,                         ) Date: August 19, 2013
15                                      ) Time: 1:00 p.m.
               Defendant.               ) Courtroom: 7
16

17       Defendant, SALVADOR RAYMOND DELEON RODRIGUEZ, hereby waives

18   his right to be present in open Court upon the hearing of any

19   motion or other proceeding in this cause, including but not limited

20   to, when the case is ordered set for trial, when a continuance is

21   ordered, and when any other action is taken by the Court before or

22   after trial, except upon arraignment, plea, empanelment of jury and

23   imposition of sentence.

24       Defendant    hereby   requests    the   Court   proceed   during   every

25   absence of which the Court may permit pursuant to this waiver;

26   agrees that his interests will be deemed represented at all times

27   by the presence of his attorney, Anthony P. Capozzi, the same as if

28
                                         - 1 -
                  Defendant’s Notice of Waiver of Personal Appearance
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                           Case 1:13-cr-00085-LJO-BAM Document 67 Filed 07/30/13 Page 2 of 2


 1   the Defendant was personally present; and further agrees to be
 2   present in person in Court ready for trial any day and hour the
 3   Court may fix in their absence.
 4                            Defendant further acknowledges that he has been informed
 5   of                      his    rights   under    Title 18, United       States    Code,   section
 6   3161-3174 (Speedy Trial Act), and authorizes his attorney to
 7   set times and delays under the Act without Defendant being
 8   present.
 9

10   DATED:_7/30/2013_______                                      _/s/ Sal Rodriguez________
11
                                                                  SALVADOR RAYMOND DELEON
                                                                  RODRIGUEZ
12

13

14
                                                                  Respectfully submitted,
15

16
     Dated:_July 24, 2013__                                       /s/ANTHONY P. CAPOZZI_______
17                                                                Anthony P. Capozzi
                                                                  Attorney for, SALVADOR
18                                                                RAYMOND DELEON RODRIGUEZ
19

20

21                                                            ORDER
22

23
     IT IS SO ORDERED.
24

25                         Dated:   July 30, 2013                       /s/ Sheila K. Oberto
                                                                UNITED STATES MAGISTRATE JUDGE
26
     DEAC_Signature-END:




27   ie14hje
28
                                                               - 2 -
                                        Defendant’s Notice of Waiver of Personal Appearance
                                                    CASE NO.: 1:13-CR-00085-LJO
